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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 PHILIP LEE; PAMELA WHITE;
 PATRICIA VANDUSEN; RONALD                  Case No. 4:22-cv-12153-SDK-DRG
 ALLIX; and RANDY WELCH,
 individually and on behalf of all others   Hon. Shalina D. Kumar
 similarly situated,
                                            Mag. David R. Grand

                    Plaintiffs,


       v.

 BELVOIR MEDIA GROUP, LLC,


                    Defendant.


        PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
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      Plaintiffs, individually and on behalf of all others similarly situated, submit

this notice of supplemental authority to apprise the Court of a recent decision

relevant to the issues raised in Plaintiffs’ response in opposition (ECF No. 19) to

Defendant’s motion to dismiss (ECF No. 18):

      1.     On May 1, 2023, Judge F. Kay Behm issued a decision denying a

motion to dismiss filed by the defendant in Gaines v. National Wildlife Federation,

Case No. 22-11173, ECF No. 35 (E.D. Mich. May 1, 2023), a PPPA action similar

to the instant matter. A copy of the Gaines decision is attached hereto as Exhibit A.

      2.     The Gaines court found that the plaintiff alleged facts that adequately

stated a claim for violation of the PPPA. Gaines, at 11. Recognizing that “[a]t the

motion-to-dismiss stage, the court does not consider whether the factual allegations

are probably true; instead a court must accept the factual allegations are true, even

when skeptical,” the court found that “the Amended Complaint sufficiently alleges

that Defendant disclosed PRI in violation of the PPPA” and accordingly denied the

defendant’s motion to dismiss pursuant to Rule 12(b)(6). Id. at 13.

      3.     Notably, in reaching its decision, the court in Gaines considered and

rejected the defendant’s arguments regarding the decisions in Nashel v. The New

York Times Co., 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022), Bozung v.

Christianbook, LLC, 2023 WL 2385004 (W.D. Mich. Mar. 6, 2023) and Wheaton v.

Apple, Inc., 2019 WL 5536214 (N.D. Cal. Oct. 25, 2019), and instead adopted the
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reasoning of the decision in Horton v. GameStop Corp., 380 F. Supp. 3d 679 (W.D.

Mich. 2018), consistent with the decisions in Briscoe v. NTVB Media Inc., 2023 WL

2950623 (E.D. Mich. Mar. 3, 2023) (report and recommendation by Altman, J.) and

Piper v. Talbots, Inc., 507 F. Supp. 3d 339 (D. Mass. 2020). See Gaines, at 10-15;

e.g., id. at 14 (“[T]o the extent that Nashel suggests that to cross the threshold of

plausibility, the data card (as opposed to the complaint) must indicate the origin of

the allegedly violative information or itself prove that the defendant disclosed the

PRI that was listed for sale, the court believes that such a requirement imposes an

unnecessary burden of proof on the plaintiff at the pleading stage.”); id. at 12

(finding “persuasive” Horton’s “conclu[sion] that the plaintiff plausibly alleged that

the defendant‐publisher provided subscription information in violation of the PPPA

to a third party, NextMark, based on a printout from the NextMark website in which

NextMark claimed to sell the publication’s mailing list”).

      4.      The Amended Complaint here makes the same allegations as to the

specifics of the data card from the relevant 2016 time period as those found to be

sufficient in Gaines. Compare Amended Complaint, ECF No. 16, at ¶¶ 2-3, with

Gaines, at 11-12 (citing operative complaint in Gaines at ¶¶ 2-3). Further, the

Amended Complaint here includes additional allegations not alleged in Gaines.

Compare ECF No. 16, at ¶¶ 3-6, with Gaines, 5:22-cv-11173 ECF No. 15,

PageID.664.
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      5.     The court in Gaines also held that the six-year limitation period found

in M.C.L § 600.5813 applied to plaintiff’s PPPA claim. See id., at 21 (the court

“finds the reasoning of these decisions 1 persuasive and concludes that the six-year

limitations period applies to the PPPA claim”) & at 18 (“[A]ccording to the

Amended Complaint, the relevant period is from February 20, 2016 through July 30,

2016. Even using Defendant’s more limited time frame of May 30, 2016 to July 30,

2016, the Amended Complaint does not suggest, on its face, that its allegations of

wrongful disclosure of PRI fall outside the six‐year limitations period. Accordingly,

dismissal on this basis is unwarranted.”)


Dated: May 2, 2023                     Respectfully submitted,
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      The court is referring to the decisions in Krassick v. Archaeological Inst. of
Am., 2022 WL 2071730, at *3 (W.D. Mich. June 9, 2022), Nashel, 2022 WL
6775657, at *4, and Pratt v. KSE Sportsman Media, Inc., 586 F.Supp. 3d 666, 673
(E.D. Mich. 2022), all of which found that the six-year statute of limitations period
pursuant to § 600.5813 applied in PPPA claims.
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 2, 2023, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.


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